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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION

IN THE MATTER OF:                       )
                                        )               CASE NO. 18-10423
BRITTANI HILL                           )               Chapter 7
                                        )
               Debtor                   )

    ORDER AUTHORIZING THE CHAPTER 7 TRUSTEE TO RETAIN BK GLOBAL
      REAL ESTATE SERVICES AND ROTH WEHRLY GRABER TO PROCURE
     CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §§ 327, 328 AND 330

              AT FORT WAYNE, INDIANA ON February 22, 2019

       Upon the Application of Martin E. Seifert, Trustee in the above-captioned case ("Trustee"),

to Retain BK Global Real Estate Services and Roth Wehrly Graber to Procure Consented Public

Sale pursuant to 11 U.S.C. §§ 327, 328 and 330 ("Application"), the Court having reviewed and

considered the Application and the Declarations of Realtor and having found good and sufficient

cause appearing therefor and the same to be in the best interest of Debtor and the creditors the Court

hereby FINDS that:

       A.      The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 157(b)(2).

       B.      Venue of this Chapter 7 case and the Application is proper pursuant to 28 U.S.C.

§§ 1408 and 1409.

       Based upon the foregoing findings of fact, it is hereby

       ORDERED, ADJUDGED AND DECREED that:

       1.      The Application is GRANTED.

       2.      Defined terms not otherwise defined herein have the meanings given to them in the

Application and the Declarations.

       3.      The Trustee is authorized to retain and compensate BKRES and local licensed Listing

Agent to provide the necessary professional assistance and representation required by the
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Trustee to fulfill the Trustee's duties pursuant to 11 U.S.C. § 704 in order to procure Secured

Creditor's Consent, and otherwise market and sell the Property, in Debtor's Chapter 7 case pursuant

to Sections 327, 328(a) and 330 of the Bankruptcy Code, and Bankruptcy Rules 2014 and 2016, in

accordance with the terms and conditions set forth in the BKRES Agreement, the Listing Agreement

and this Order. BKRES and Listing Agent shall not split or otherwise share their fees with any other

person or entity.

        4.       BKRES and Listing Agent are disinterested persons within the meaning of

Bankruptcy Code Section 101(14).

        5.       BKRES and Listing Agent shall be compensated in accordance with the BKRES

Agreement and Listing Agreement, respectively, and such compensation shall not hereafter be

subject to challenge except under the standard of review set forth in Section 330 of the Bankruptcy

Code.

        6.       BKRES and Listing Agent shall be authorized to receive and retain their fees from

Secured Creditor at the successful closing of the sale of the Property without necessity of further

order of the Court. The estate shall, in no circumstance, be obligated to compensate BKRES or

Listing Agent in such event and BKRES and Listing Agent shall not have a claim against the estate

for any unpaid amounts. BKRES and Listing Agent, and anyone claiming by, through or under

either of them, shall only have recourse for recovering its fee to Secured Creditor. The estate shall

have no liability for any such claim.

        7.       Trustee is hereby authorized to engage Brokers BKRES and Listing Agent to provide

reasonable and necessary property preservation, maintenance, and upkeep services to the subject

estate Property to facilitate the sale of the Property for the benefit of the Secured Creditor(s) and

bankruptcy estate, and to reimburse the Brokers in a maximum amount not to exceed $500.00

for
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the approved reasonable, necessary costs and expenses of preserving, or disposing of, the subject

Property, without the need for further Order.

        8.      This Court shall retain jurisdiction to hear and determine all matters arising from or

related to the implementation of this Order.

        SO ORDERED.


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                                                JUDGE, UNITED STATES BANKRUPTCYCOURT




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